CaSe lZOS-CV-OO439-DW|\/| ECF NO. 72-6 filed 01/29/04 Page|D.742

Page 1 of 10

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CaSe 1203-CV-OO439-DW|\/| ECF NO. 72-6 filed 01/29/04 F-age|D.?A,S Page 2 Of 10

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STATE OF MICHIGAN

IN THE l7TH JUDICIAL CIRCUIT COURT FOR THE COUNTY OF KENT

FAMILY DIVISION

cLAIRE EvELYN RYAN,
Plaintiff,
`VS.

TIMOTHY J. RYAN and
CHRISTINE RYAN,

Defendants.

/

 

Case NO. 01-09528-DZ

MOTION FOR DISQUALIFICATION

BEFORE THE HONORABLE PATRICIA D. GARDNER, PROBATE JUDGE

Grand Rapids, Michigan - Wednesday, October 17, 2001

APPEARANCES:

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CaSe 1203-CV-00439(DW|\/| ECF NO. 72-6 filed 01/29/04 Fage|D.?AA Page 3 Of 10

TABLE OF CONTENTS

No wITNESSEs _

ARGUMENT BY MR. MARCH .............................. 5
ARGUMENT BY MS. EENEDICT .......................... 10
ARGUMENT BY MS. OSTRANDER ......................... 14
EDITED OPINION OF THE COURT ....................... l8
EXHIBITS: MARKED RECEIVED

NO EXHIBITS

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'CaSe 1203-CV-00439?DW|\/|/ ECF NO. 72-6 filed 01/29/04 F/age|D.745 Page 4 Of 10

employee of this court. And regardless of anything else,
regardless of Ms. Ostrander's verification and attesting to

Ms. McGinn-Loomis, it is the appearance that we're dealing with
here. And the appearance of impropriety is overwhelming, and
the appearance of bias.

I have no idea, as I've said already twice, whether
the Court, in fact, has a bias or a prejudice.

But what has happened here, through whatever
circumstances, and I am willing to believe everything the Court
did was well-intended. I'm willing to believe that everything
Counsel did was well-intended.

I'm not willing to make that same statement in
reference to Ms¢ McGinn-Loomis.

There is a question, well, no judge can hear this
case because she works in this courthouse.

I would say no judge who Ms. McGinn-Loomis has gone
to and talked to about this case can hear it. But absent that,
any of the other Circuit judges can hear this case.

Ms. Benedict says, well, Mr. Ryan, because he's an
attorney, therefore, all the judges are disqualified.

The significant difference is that Mr. Ryan has not
had an ex-parte communication with Your Honor or with any other
judge.

You put this all together and this is ~- this is a

motion that has merit and that Your Honor should disqualify

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-CaSe 1203-CV-00439{DVV|\/| ECF NO. 72-6 filed 01/29/04 FHQe|D.?A,€ Page 5 Of 10

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herself from hearing this case.

THE cOURT: Thank y¢u. The court will enter its
ruling on the record. I do reserve the right to modify the
opinion as to information, law, and court rules as may be

applicable.

~k**

(Edited Opinion of the Court)
* * *

To file a Motion to Disqualify a judge is very
serious business. Judges are elected officials that serve and
are required to be impartial hearers of the facts.

In this case, the Court will detail its contacts with
Adele Loomis, with whom the Court has had, throughout its
tenure on the bench, little to no contact. She's not a friend.
She‘s not an acquaintance, she's a person who works in the
clerk‘s office.

I did receive a telephone call from Ms. Loomis at my
home over the dinner hour on September 19th.

The length of the conversation I would estimate to be
no more than two minutes.

The discussion was primarily to apologize for
interrupting me at home and to request whether my home number
could be provided to Ms. Benedict.

She further indicated that she was aware of the case

as Claire Ryan's boyfriend's mother.

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That was the extent of my conversation. A brief
conversation to advise me of an alleged emergency situation and
whether Ms. Benedict could receive my home number.

Emergencies and ex-parte orders are in and of
themselves problematic. That is why the bench rarely issues
them and attorneys in our legal community are sensitive to the
fact that they should be brought only in the most severe of.
emergency situations. Ex-parte orders by their nature require
ex-parte communication. These communications do not disqualify
the judge from hearing the case. The other information from
Ms. Loomis which I received include reviewing an affidavit
dated September 20th, submitted by Ms. Benedict, and also an
affidavit that was submitted to the Court in the context of
receiving a PPO against Mr. Ryan and Mrs. Ryan.

This Motion for Disqualification is requested
pursuant to MCR 2.003(1), alleging the judge is personally
biased or prejudiced for or against a party or attorney,

Ms. Loomis is not a party to the action. She is not
a collateral party in that there has never been a request in
any pleading that I have reviewed to place Claire Ryan with
Ms. Loomis. No one suggests or requests the placement of
Claire Ryan with Ms. Loomis.

There is no order for temporary placement with
Ms. Loomis nor has one ever been requested.

In fact, all parties agree, the Ryans, Claire Ryan's

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-CaSe 1203-CV-00439(DVV|\/| ECF NO. 72-6 filed 01/29/04 (

Page|D.748 Page 7 of 10

attorney, and the Guardian Ad Litem, that such a placement
would be inappropriate.

One must then look to the orders that the Court
entered to determine if the two-minute phone conversation
authorizing Ms. Benedict to contact me at home for the
presentation of an emergency ex-parte order influenced the
Court for Ms. Loomis, although she's not a party, or against
the Ryans in any way.

The order entered by the Court on September 19th
preserved the status quo. It was intended to preserve the
child‘s jurisdiction within the State of Michigan, to return
the child to Grand Rapids in a safe location at the Bridge, and
to schedule an emergency hearing.

The Court didn't rule against the Ryans, it didn't
rule against Claire Ryan, it ruled for no one. It ruled to
preserve the status quo when emergency allegations had been
made that the child was to be removed from a jurisdiction when
she sought to bring forward an emancipation petition,
guardianship hearing, or other proceedings.

The ex-parte order preserved the status quo to allow
the parties to be heard.

Could this possibly have the appearance of prejudice
or bias to preserve the status quo?

The Court finds that no appearance of impropriety,

bias or prejudice exists in the issuance of an order to

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_CaSe 1203-CV-00_439-DV_\/_|\/| ECF NO. 72-6 filed 01/29/04
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F;age|D.749 Page 8 of 10
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maintain the status quo, and to schedule an emergency hearing.

The second order entered by the Court appointed a
guardian ad litem for Claire Ryan, Attorney Judy Ostrander.

Could the two-minute conversation with Ms. Loomis to
pass on a home number, or the reviewing of the affidavits in
any way have an impact on the Court's order to appoint a
guardian ad litem to determine the child‘s position in the case
in order to rule on the Motion to Dismiss, the motion to move
Claire Ryan back to Michigan, and the motion for release of
records that was to be before the Court?

The Court finds that there is no appearance of
impropriety, bias, or prejudice to any party in ordering that a
guardian ad litem be appointed for the child before ruling on
the substantive issues and matters before the Court.

The second order also stayed the ex-parte order
requiring the return of Claire Ryan to Grand Rapids from the
Detroit Metropolitan area.

Now could there be any appearance of impropriety as a
result of that phone ca11 in the staying of that order, which
also expanded the preservation of the status quo, since, in
fact, Claire Ryan had been moved into a placement in Utah?

This was a request, in facty made by the Ryans.

I find that there is no appearance of impropriety in
entering this stay allowing Claire Ryan to remain in her

placement and preserving the current status quo until the

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-CaSe 1203-CV-00439ZBW|\/| ECF NO. 72-6 filed 01/29/04 (Page|D.750 Page 9 Of 10

guardian ad litem report was received, heard, and the motions
were argued.

The Court finds that there is no personal bias and
there further is no appearance of bias or prejudice in this
matter or in the orders that have been generated by the Court.

In fact, if there was bias or the appearance of bias,
that would have been supported if I had signed a second ex-
parte order presented by Ms. Benedict requesting that I order
the child to be returned from Utah.

`The Court declined to sign that ex-parte order.

The Court also declined to sign an ex-parte order

submitted by Mr. Saxe dismissing the action.

Would.the argument for the appearance of impropriety
or the appearance of bias or prejudice be bolstered if the
Court had entered the PPO requested by Ms. Loomis against the
Ryans?

The Court declined to enter-that order. And I would
argue because the Court is fair and impartial and considers
only the facts of the case, which have yet to be fully
presented to the Court.

I have yet to consider the substantive requests of
the respective parties.

The Court has only continued the status quo which has
not prejudiced either party.

It appears to the Court that the Motion for

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CaSe 1203-CV-00439-DWl\/| ECF NO. 72-6 filed 01/29/04

P e|D.751 Page 100f10
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Disqualification, filed one day before the hearing on the
substantive matters, was meant to further delay the case. This
case was presented to the Court of Appeals who declined to stay
the proceeding. A Motion to Dismiss is pending. I find the
Motion for Disqualification completely without merit. The
motion is denied.

The pleadings indicate that if this matter is to be
denied, there will be an appeal to the chief judge as allowed
by the court rule.

The Court, therefore, will adjourn argument on the
substantive matters, which were to be heard today, for one
week, Thursday, from 3 OO, excuse me, October 24th, from
11:00 a.m. until noon. The pending motions include a request
for records, placement of Claire Ryan in Michigan, and motion
to dismiss, along with considering the guardian ad litem report
and recommendation.

I believe that this is more than enough time for you
to pursue the appeal to Judge Buth, since you are able to raise

this Motion to Disqualify in a very short period of time.

'k*~k

THE COURT: So the Court will adjourn until
October 24th, 2001, 11:00 a.m. to noon.
MS. BENEDICT: Your Honor, you said Thursday the

24th, but Thursday is the --

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